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    EXHIBIT A
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                      Hon. David R. Herndon
                     United States District Judge (retired)
                           dave@herndonresolution.com

                        P.O. Box 897, Edwardsville, IL. 62025

                                    618-973-0778

Professional Experience
Herndon Resolution LLC, single member LLC formed for the purpose of offering
services as a special master and arbitrator, with an emphasis on MDLs, mass torts and
mass actions.

Currently serving as Fee Panel Arbiter in MDL 2804 In Re: National Prescription
Opioid Litigation, Special Master in MDL 2885 In Re: 3M Combat Arms Earplug
Product Liability Litigation, and Trustee of the DII Industries, LLC Asbestos PI Trust.

United States District Court for the Southern District of Illinois, East St. Louis, IL
United States District Judge (1998 – 2019) (retired January 7, 2019)

During this two decade tenure, I handled civil and criminal cases, in excess of 35,000
individual cases, including several multi-district cases such as MDL 2100 YAZ and
MDL 2385 Pradaxa. I served as Chief Judge of the district, from 2007 through 2014,
which included management of the court and its employees within the district court,
clerk of court and probation offices. I also served as a member and ultimately Chair
of the Judicial Conference Committee for Judicial Security by appointment of Chief
Justice John Roberts. I developed an expertise in complex civil litigation handling
multi-district cases and mass actions and governmental security issues. During my
judicial tenure, I served as a presenter, panelist and moderator at numerous
conferences and seminars, as well as law school guest lecturer in the United States
and in foreign countries.

Illinois Third Judicial Circuit Court Madison and Bond Counties, IL
Associate Judge (1991 – 1998)

This tenure of judicial service included dockets of large civil cases (L Division)
(including class actions and asbestos trials), small civil cases and miscellaneous
remedies (LM Division), high volume traffic misdemeanor, and the family division.
During this tenure, I was chair of the security committee and took over dockets for
ailing Circuit Judges in Bond and Madison Counties, including a general docket and a
felony criminal docket.

Lakin and Herndon, PC Wood River, IL
President and Managing Officer (1980 – 1991)
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This position consisted of performing the duties of a trial lawyer and Designated Legal
Counsel for the United Transportation Union representing plaintiffs in personal
injury cases, primarily railroad workers in the crafts of conductor, brakemen,
switchmen and engineers. I also represented the rail union in cases brought or
defended under the Railway Labor Act. In pursuit of the duties of a designated
counsel, I made countless presentations on the Federal Employers’ Liability Act
(FELA). As the managing officer of the professional corporation, I was charged with
the duties of overall management of the lawyer and non-lawyer staffs, financial
management and public relations. Those management duties included overseeing the
establishment of one of Madison County’s earliest asbestos practices.

Haley, Frederickson, Walsh and Herndon, PC St. Louis, MO
Trial lawyer and minority stockholder (1978 – 1980)

This position consisted of performing the duties of trial lawyer for injured railroad
workers representing plaintiffs in work related injury cases and prosecuting or
defending the United Transportation Union, of which the senior stockholder was a
Designated Legal Counsel, in Railway Labor Act matters.

Lakin and Associates, PC East Alton, IL
Trial lawyer (1977 – 1978)

This position consisted of performing the duties of trial lawyer for a general legal
client base, but primarily plaintiff personal injury matters, as well as duties ordinarily
performed by a managing partner but assigned to me by the sole stockholder in the
firm.

Haley, Fredrickson, Stubbs and Abele, PC East St. Louis, IL
Law intern and investigator (1972 – 1977)

This entry level legal job (during my undergraduate college and law school pursuits)
consisted of writing grievances and adjustment board submissions for members of
the United Transportation Union, of which the senior stockholder was a Designated
Counsel, investigating plaintiff’s FELA cases, constructing settlement proposals in the
form of brochures and general job duties assisting in case preparation and client
relations.

Education

Juris Doctorate, Southern Illinois University School of Law, Carbondale, IL, 1977

Bachelor’s Degree (BA), Southern Illinois University, Edwardsville, IL, 1974

Advanced Training/Certificates

Harvard Law School, “Mediating Disputes,” Executive training through the Program
on Negotiation, Cambridge, MA, October 2018.



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American Arbitration Association, Mediator Essentials, New York, NY, October
2018.

National Judicial College, Mediation Skills, Reno, NV, September 1997.

Bar Licensure

Illinois 1977 (retired judge; inactive status)

Missouri 1980 (retired judge; inactive status)

Honors

Hall of Fame, 2019 International Association of Top Professionals, New York, NY.

Judge of the Decade, 2018 International Association of Top Professionals, New York,
NY.

Judge of the Year, 2018 International Association of Top Professionals, New York,
NY.

Judge of the Year, 2017 International Association of Top Professionals, New York,
NY.

Lifetime Achievement Award, 2017, International Association of Top Professionals,
New York.

National Trial Lawyers Hall of Fame, 2017.

Alumni Hall of Fame, 2018, Southern Illinois University, Edwardsville.

Distinguished Alumnus, 2000, Southern Illinois University, Edwardsville.

Alumnus Achievement Award, 2000, Southern Illinois University, Carbondale.

Community Service and Humanitarian Award, 1997, NAACP, Alton, IL Branch.

Outstanding Alumnus of the Year, 1992, Southern Illinois University School of Law.

Chairman’s Award, 1989, Illinois Democratic Party, Vincent DeMuzio, Chairman.

Kentucky Colonel, 1984, from Governor Martha Layne Collins.

Arkansas Traveler, 1984, from Governor Bill Clinton.

Boards

Preachers Aid Society and Benefit Fund, 2019 – current

United States Judicial Conference Committee on Judicial Security, 2011 – 2018,
(Chairperson 2015-2018)


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Southern Illinois University School of Law, Alumni Board of Directors, 1990 –
1998.

Southern Illinois University Edwardsville, Alumni Board of Directors, 1992 –
1998.

Professional Associations

Federal Judges Association, 1998 – current; Board of Directors 2014 – 2018,
Member of Security, Membership, Nominations 2014 – 2018, Co-chair Security
Committee 2016-2018.

Illinois Judges Association, 1991 – current.

Legal Education Presentations

In excess of 65 CLE and Judicial Conference presentations primarily focusing on
complex litigation. A list of such presentations is available upon request.




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